                                                                                                            Filed
                                                                                             9/2/2022 10:15 AM
                                                                                                Anne Lorentzen
                                                                                                   District Clerk
                                                                                          Nueces County, Texas


                               CAUSE NO. 2022CCV-61057-3

ARA BABOS INDIVIDUALLY and as         §                 IN THE COUNTY COURT
the SOLE WRONGFUL DEATH               §
BENEFICIARY OF THE ESTATE OF          §
ADRIANA M POP MOODY, Deceased,        §
                                      §
              Plaintiff,              §
                                      §
CHRISTINE AMBLER, PETER               §
AMBLER, and FRANK HUNOLD,             §
Individually and on behalf of THE     §
ESTATE OF RACHEL AMBLER,              §
                                      §
               Intervenor-Plaintiffs, §
vs.                                   §                 AT LAW NO. 3
                                      §
                                      §
WEST CENTRAL TOWING &                 §
RECOVERY, LLC, BACK ON YOUR           §
FEET RECOVERY, LLC, QUALITAS          §
INSURANCE COMPANY, QUALITAS           §
INSURANCE SERVICES, INC., DQ          §
LOGISTICS, DQ FREIGHT LOGISTICS, §
INC., TRANSWORLD INSURANCE            §
BROKERAGE, INC., J. LOPEZ             §
TRUCKING, LLC, GO UP LOGISTICS,       §
UNITED FINANCIAL CASUALTY             §
COMPANY, a/k/a PROGRESSIVE            §
INSURANCE and GICA LOGISTICS          §
LLC,                                  §
                                      §
               Respondents.           §                 NUECES COUNTY, TEXAS


           INTERVENOR-PLAINTIFFS’ APPLICATION FOR TEMPORARY
                RESTRAINING ORDER AND INJUNCTIVE RELIEF

TO THE HONORABLE JUDGE OF SAID COURT:

       COME NOW, Christine Ambler, Peter Ambler, and Frank Hunold, Individually and on

behalf of The Estate of Rachel Ambler, Intervenor-Plaintiffs herein, complaining of West Central

Towing & Recovery, LLC, Back On Your Feet Recovery LLC, Qualitas Insurance Company,


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Qualitas Insurance Services, Inc., DQ Logistics, DQ Freight Logistics, Inc., Transworld Insurance

Brokerage, Inc. J. Lopez Trucking LLC, Go Up Logistics, United Financial Casualty Company

a/k/a Progressive Insurance and GICA Logistics LLC (“Respondents”) and files this Application

for Temporary Restraining Order and Temporary Injunction, and states the following in support

thereof:

       1.     On or about August 10, 2022, Rachel Ambler, the daughter and wife of Intervenor-

Plaintiffs, was the driver of a 2020 White Subaru Ascent (VIN: 4S4WMALD9L3429073). Rachel

Ambler was stopped on IH-10 due to a previous crash when suddenly, the Respondents’ tractor

trailers violently collided with Rachel Ambler and Plaintiff’s vehicles resulting in the deaths of

Rachel Ambler and Adriana M Pop Moody.

       2.     West Central Towing & Recovery, LLC’s registered agent for service of process is

Rheba K. Wall-Massey and can be served with this document by serving Rheba K. Wall-Massey at

100 East Uvalde Street, Rocksprings, Texas 78880 or, wherever she may be found.

       3.     Back On Your Feet Recovery, LLC’s registered agent for service of process is Terry

Davis. Back On Your Feet Recovery, LLC and can be served with this document by serving Terry

Davis, 68 Private Road 737, Brady, Texas 76825 or, wherever he may be found.

       4.     Qualitas Insurance Company’s registered agent for service of process is Michelle

Burton. Qualitas Insurance Company may be served with this document by serving Michelle Burton

at 600 B Street, Suite 1500, San Diego, California, or 4545 Murphy Canyon Road, Suite 300, San

Diego California, 92123 or, wherever she may be found.

       5.     Qualitas Insurance Services, Inc.’s registered agent for service of process is Alfonso

Montemayor. Qualitas Insurance Services, Inc. may be served with this document by serving




INTERVENOR-PLAINTIFFS’ APPLICATION FOR TEMPORARY RESTRAINING ORDER AND
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Alfonso Montemayor at 4545 Murphy Canyon Road, Suite 300, San Diego California, 92123 or,

wherever he may be found.

       6.     DQ Logistics registered agent for service of process is Marco A. Hernandez. DQ

Logistics may be served with this document by serving Marco A. Hernandez at 310 N. Indian Hill

Blvd., Suite 810, Claremont, California or, wherever he may be found.

       7.     DQ Freight Logistics, Inc. registered agent for service of process is Michael Feng

Qi. DQ Freight Logistics, Inc. may be served with this document by serving Michael Feng Qi at

15920 Mentz Court, La Puente, California, 91774 or, wherever he may be found.

       8.     Transworld Insurance Brokerage, Inc. registered agent for service of process is Sal

Rubalcava. Transworld Insurance Brokerage, Inc. may be served with this document by Sal

Rubalcava at 10535 Foothill Blvd., Suite 276, Rancho Cucamonga, California or, wherever he may

be found.

       9.     J. Lopez Trucking LLC registered agent for service of process is Jose Rosaario

Lopez. J. Lopez Trucking LLC may be served with this document by serving Jose Rosaario Lopez

at 2082 Torres Street, San Luis, Arizona 85349 or, wherever he may be found.

       10.    Go Up Logistics’ registered agent for service of process is Becky Evaro. Go Up

Logistics may be served with this document by serving Becky Evaro at 2548 Sentenario Street,

Anthony, New Mexico or, wherever she may be found.

       11.    United Financial Casualty Company a/k/a Progressive Insurance registered agent for

service of process is CT Corporation System and may be served with this document by serving CT

Corporation, 1999 Bryan Street, Suite 900, Dallas, Texas 75201-3136 or, wherever it may be found.




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        12.     GICA’s registered agent for service of process is Cipriano Gonzales and may be

served with this document by serving him at 139 Dodson Dr., Deming, NM 88030 or, wherever he

may be found.

        13.     The accident and deaths were caused when the two 18-wheeler tractor trailers held

in storage at West Central Towing & Recovery, LLC identified as 2016 White Freightliner with

VIN 3AKJGLDR6SGN1829 and, at Back On Your Recovery, LLC, as a 2016 Red Peterbilt with

VIN 1XPDB49X5GD346633 failed to control their speeds and crushed Rachel Ambler’s vehicle

causing it to burst into flames burning Ambler to death. To date, all parties have been denied access

to both of the subject tractors and trailers. The 2016 White Freightliner with VIN

3AKJGLDR6SGN1829 tractor was the producing and proximate cause of the collision which,

subsequently caused the death of Rachel Ambler.

        14.     Upon information and belief, the subject 18-wheeler tractor (Tractor VIN:

3AKJGLDR6GSGN1829) is currently in the possession of Respondent at West Central Towing &

Recovery LLC located at 1941 Main Street, Junction, Texas and the is material physical evidence

in this case and may contain important evidence bearing upon the cause of the injuries and the

damages to Rachel Ambler and Intervenor-Plaintiffs. Respondent at West Central Towing &

Recovery LLC has indicated that they will not let Intervenor-Plaintiffs inspect the subject tractor.

Said tractor should be properly preserved for inspection and examination and should be guarded

against any physical damage or removal. Physical change in the tractor can occur either through the

intentional conduct of a person changing or altering the condition of the tractor or through

accidental or unintentional change resulting from accidental damage, natural deterioration, or other

ways. It is, therefore, necessary to ensure a fair trial to all parties, that said tractor be kept in a secure




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place for examination and that any evidence that has previously been removed be protected from

change, alteration, deterioration, or loss until such time that it may be inspected and examined.

        15.     Based upon information obtained from West Central Towing & Recovery, Inc.,

Qualitas Insurance Company and Qualitas Insurance Services, Inc., has exercised control and/or

ownership over the 2016 White Freightliner with VIN 3AKJGLDR6SGN1829 and is taking action

to dispose of or, otherwise transfer the subject tractor to a facility for sell and/or destruction.

        16.     Upon information and belief, the subject 18-wheeler tractor trailer identified as the

2016 Red Peterbilt with VIN 1XPDB49X5GD346633 is currently in the possession of Respondent

Back On Your Recovery, LLC located at 1420 W. Ranch Road 1674, Junction, Texas and, the

tractor and trailer are material physical evidence in this case and may contain important evidence

bearing upon the cause of the injuries and the damages to Rachel Ambler and Intervenor-Plaintiffs.

Respondent at Back On Your Recovery, LLC has indicated that they will not let Intervenor-

Plaintiffs inspect the subject tractor and trailer. Said tractor trailer should be properly preserved for

inspection and examination and should be guarded against any physical damage or removal.

Physical change in the tractor trailer can occur either through the intentional conduct of a person

changing or altering the condition of the tractor and trailer or through accidental or unintentional

change resulting from accidental damage, natural deterioration, or other ways. It is, therefore,

necessary to ensure a fair trial to all parties, that said tractor and trailer be kept in a secure place for

examination and that any evidence that has previously been removed be protected from change,

alteration, deterioration, or loss until such time that it may be inspected and examined.

        17.     Accordingly, Respondents and all others acting in concert with them or working on

their premises, should be immediately restrained and enjoined from removing, altering, or changing

the condition of the physical evidence in any way, and, further should deliver both tractor trailers


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identified above immediately to Intervenor-Plaintiffs, and upon hearing, this Court should issue its

mandatory temporary injunction ordering and directing that the said vehicles be taken into the

custody of the Court and be maintained as it exists at a location agreed upon by Sommerman,

McCaffity, Quesada & Geisler LLP, and/or its designated representative, and protected from any

physical change, alteration, deterioration, or loss, and all parties may have reasonable access to the

same for the purpose of preparation of this case for trial.

       18.     Pursuant to Texas Rule of Civil Procedure 680, Intervenor-Plaintiffs seek a

temporary restraining order against Respondents, their agents, servants, employees, insurance

representatives, attorneys, and those acting in concert with Respondents. Intervenor-Plaintiffs

request this Court issue an Order permitting Intervenor-Plaintiffs’ and potential plaintiffs’ attorneys

and investigative staff, including but not limited to consulting experts, to enter upon Respondents

West Central Towing & Recovery, LLC, and Back On Your Feet Recovery LLC’s facilities, in

order to inspect, photograph, and film the tractor and trailers as well as associated evidence. Such

entry for the purpose of the inspection, photograph, and filming is essential to preserve, inspect,

photograph, videotape, and/or otherwise document and test the subject tractor trailers and

component parts.

       WHEREFORE, Intervenor-Plaintiffs respectfully request that Respondents, their officers,

agents, servants, employees, and attorneys, and all persons in active concert or participation with

them to receive actual notice of the Order of the Court by personal service or otherwise be:

       (1) Immediately, and without notice, temporarily restrained and enjoined from in any way

moving, changing, altering, repairing, or taking any action whatsoever to change the conditions of

the subject 2016 White Freightliner with VIN3AKJGLDR6SGN1829 and, the 2016 Red Peterbilt

with VIN 1XPDB49X5GD346633 pending a hearing on a temporary injunction; and


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       (2) After notice of hearing, this Court enter its Order for a mandatory temporary injunction

ordering and directing that the subject 2016 Red Peterbilt with VIN: 1XPB049X560346633 and a

2016 White Freightliner with VIN 3AKJGLDR6SGN1829 be maintained as it presently exists and

delivered to Intervenor-Plaintiffs immediately and that any equipment or property that has

previously been removed, be stored in an appropriate secure storage facility in which it will be

protected from alteration, change, deterioration, or loss, and that Orders be entered granting all

parties reasonable access to the same for the purpose of examination, inspection, photographing,

recording, and preparing to present the condition of said equipment at trial. Additionally,

Intervenor-Plaintiffs request such other and further relief to which they may be justly entitled.

                                        CERTIFICATION

       I certify that to the best of my knowledge, the party against whom relief is sought ex parte

is not represented by counsel in the matter made the basis of this Application.

                                      Respectfully submitted,

                                      SOMMERMAN, MCCAFFITY, QUESADA & GEISLER, L. L. P.

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                                      ATTORNEYS FOR INTERVENOR-PLAINTIFFS
                                      CHRISTINE AMBLER and PETER AMBLER


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INJUNCTIVE RELIEF - PAGE 7
                                      and

                                      FADDUOL, CLUFF, HARDY & CONAWAY, P.C.

                                      /s/ Richard Hardy
                                      Richard Hardy
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                                      ATTORNEYS FOR INTERVENOR-PLAINTIFF
                                      FRANK HUNOLD, Individually and on behalf of
                                      RACHEL AMBLER (deceased) as WRONGFUL
                                      DEATH BENEFICIARY


                                   CERTIFICATE OF SERVICE

        I hereby certify by my signature above that a true and correct copy of the foregoing
instrument has this date been sent to all attorneys of record in the above-styled and numbered
matter, said service being affected in the following manner:

       Certified Mail/Return Receipt Requested                         ______

       Hand Delivery                                                   ______

       Facsimile                                                       ______

       Electronic Mail                                                 ______

       Electronic Filing/Service                                       ___X__

       DATED: September 2, 2022




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Emma Vasquez on behalf of Richard Hardy
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Status as of 9/6/2022 9:15 AM CST
Associated Case Party: Ara Babos
Name                BarNumber      Email                 TimestampSubmitted     Status
James Hobart Hada   8671050        jhada@shhlaw.com      9/2/2022 10:27:40 AM   SENT
Annette Huerta                     ahuerta@shhlaw.com    9/2/2022 10:27:40 AM   SENT
